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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

    MARJORIE AHUMADA, Individually and
    on Behalf of All Others Similarly Situated,

                                       Plaintiff,               Case No. 1:19-cv-12005-ADB

                              v.                                FIRST AMENDED
                                                                CLASS ACTION COMPLAINT
    GLOBAL WIDGET LLC, d/b/a HEMP
    BOMBS,                                                      DEMAND FOR JURY TRIAL

                                       Defendant.


           Marjorie Ahumada (“Plaintiff or “Ahumada”), individually and on behalf of all others
similarly situated, by and through her undersigned attorneys, files this First Amended Class Action
Complaint against Defendant Global Widget LLC, d/b/a Hemp Bombs (“Defendant” or “Hemp
Bombs”), and alleges the following based upon personal knowledge as to her own actions, and, as
to all other matters, respectfully alleges, upon information and belief, as follows:
                                          NATURE OF THE ACTION
           1.       This is a class action brought individually by Plaintiff on behalf of consumers who

purchased Defendant’s Hemp Bombs Products, including CBD Gummies, CBD E-Liquid, CBD Oil
(for human consumption), CBD Capsules, CBD Lollipops, CBD Vape Products, CBD Ink Aftercare,

and CBD Syrup (the “CBD Products” or “Products”)1 for personal use and not for resale.
           2.       Defendant formulates, manufactures, advertises, and sells the CBD Products
throughout the United States, including in the Commonwealth of Massachusetts.
           3.       The CBD (cannabidiol) Product market is a multibillion-dollar business enterprise
that is lucrative for its market participants and is expected to further expand into a $16 billion-dollar
industry by 2025.2


1
    Each category of Defendant’s Products contains several different flavors and dosages.
2
  Iris Dorbian, CBD Market Could Pull In $16 Billion By 2020, Study Says, Forbes.com (March 12, 2019),
https://www.forbes.com/sites/irisdorbian/2019/03/12/cbd-market-could-pull-in-16-bln-by-2025-says-
study/#69e764bb3efd.

                                                            1
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         4.       With knowledge of growing consumer demand for CBD Products, Defendant has
intentionally created a marketing scheme designed to target these consumers. Defendant makes
numerous false and misleading claims on the front label of its CBD Products as well as on the retail
website selling its CBD Products to illustrate and convey to consumers the level of potency
associated with benefits that consumers can expect to receive through their consumption.
Specifically, Defendant misrepresents that the CBD Products have specific amounts of CBD when,
in fact, the Products do not contain the amount of CBD advertised and are instead grossly under-
dosed.
         5.       Defendant’s multiple and prominent systematic misrepresentations regarding the
amount of CBD in the Products form a pattern of unlawful and unfair business practices that harm

the public.
         6.       Plaintiff and members of the putative class purchased the CBD Products for their
ingredients, potency, and effects, and paid a premium for Defendant’s CBD Products.
         7.       Accordingly, Plaintiff and each of the Class members have suffered an injury in fact
caused by the false, fraudulent, unfair, deceptive, and misleading practices as set forth herein.
         8.       Plaintiff, on behalf of the class she seeks to represent, brings this lawsuit based on
Defendant’s unlawful and unconscionable consumer practices under the Massachusetts Consumer

Protection Act, Chapter 93A et seq. (Count I), as well as Defendant’s breach of express warranty
(Count II), breach of contract/common law warranty (Count III), and breach of the Magnuson-Moss
Warranty Act, 15 U.S.C. § 2301 et seq. (Count IV). Accordingly, this lawsuit seeks, inter alia,
injunctive relief, actual damages and refunds, treble damages, punitive damages, attorneys’ fees, and
the costs of this suit.
         9.       Plaintiff brings this suit to halt the unlawful sales and marketing of the CBD Products
by Defendant and for damages she (and the putative class) sustained as a result. Given the massive
quantities of the Products sold all over the country, this class action is the proper vehicle for
addressing Defendant’s misconduct and for attaining needed relief for those affected.



                                                     2
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                                            PARTIES
          10.   Plaintiff Ahumada is a resident and citizen of North Andover, Massachusetts. On
June 17, 2019, Plaintiff purchased the Hemp Bombs Gummies Products from Haverhill Mart in
Haverhill, Massachusetts. Plaintiff purchased two of the Hemp Bombs Gummies Products at a cost
of $7.99 per Product for a total cost of $16.98. Prior to purchasing the Products, Plaintiff saw and
read the front and back of the Products’ packaging and relied on Defendant’s representation and
warranty that each Product contained 75mg of CBD per 5 count gummy package (15mg of CBD per
gummy). Plaintiff reasonably understood Defendant’s labeling representation to mean that the
Product contained 15mg of CBD per gummy.
          11.   Plaintiff would not have bought Defendant’s CBD Products or would have paid less

for the Products had she known that the labeling she relied on was false, misleading, deceptive and
unfair.
          12.   Defendant Global Widget LLC, d/b/a Hemp Bombs is a limited liability company
with its principle place of business at 8419 Sunstate St., Tampa, Florida 33634. Defendant
formulates, manufactures, advertises, distributes, and sells various CBD Products throughout the
United States, including Massachusetts. Defendant knew that the labeling of its CBD Products are
false and misleading to a reasonable consumer, because they contain either no amount of the

challenged ingredients, or they contain amounts too low to have any pharmacological effect.
                                 JURISDICTION AND VENUE
          13.   This Court has personal jurisdiction over Defendant. Defendant purposefully avails
itself of the Massachusetts consumer market and distributes CBD Products to hundreds of locations
within this District and numerous retail locations throughout Massachusetts, where the CBD
Products are purchased by hundreds or thousands of consumers.
          14.   This Court has original subject-matter jurisdiction over this proposed class action
pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class Action Fairness Act
(“CAFA”), explicitly provides for the original jurisdiction of the federal courts in any class action
in which at least 100 members are in the proposed plaintiff class, any member of the plaintiff class

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is a citizen of a State different from any defendant, and the matter in controversy exceeds the sum
of $5,000,000.00, exclusive of interest and costs. Plaintiff alleges that the total claims of individual
members of the proposed Class (as defined herein) are well above $5,000,000.00 in the aggregate,
exclusive of interest and costs.
          15.    Venue is proper in this District under 28 U.S.C. § 1391(a). Plaintiff (and members
of the putative class) lives in and made purchases of the CBD Products in this District, substantial
acts in furtherance of the alleged improper conduct, including the dissemination of false and
misleading information regarding the nature, quality, and/or ingredients of the Products, occurred
within this District and Defendant conducts business in this District.
                                COMMON FACTUAL ALLEGATIONS

          16.    Defendant specializes in the manufacture, sale, and marketing of various CBD
Products. Defendant sells the Products in all 50 states via its website, other affiliate websites, and
directly to consumers at gas stations and convenience stores.
          17.    The CBD market is growing rapidly, and consumer demand for CBD products is
increasing at a level high.
          18.     In fact, Scott Gottlieb, former commissioner of the Food and Drug Administration
from May 2017 to April 2019, recently warned, “The CBD craze is getting out of hand.”3

          19.    CBD, short for cannabidiol, is a chemical compound from the cannabis plant. CBD
is a naturally occurring substance that is used in products like oils and edibles to impart a feeling of
relaxation and calm. Unlike its cousin tetrahydrocannabinol (THC), it is not psychoactive. In other
words, CBD does not give the user a “high.”
          20.    According to former FDA commissioner Gottlieb, “many of the [CBD] compound’s
expansive benefits are fanciful, and in fact, the sale of much of the product is illegal under current
law.”4

3
 Scott Gottlieb, The CBD craze is getting out of hand. The FDA needs to act., The Washington Post (July 30, 2019 at
5:33 p.m. EDT), https://www.washingtonpost.com/opinions/the-cbd-craze-is-getting-out-of-hand-the-fda-needs-to-
act/2019/07/30/94c8024c-b211-11e9-8f6c-7828e68cb15f_story.html?noredirect=on.
4
    Id.

                                                         4
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          21.   Generally, CBD is extracted from the leaves, flowers, and stalks of the cannabis plant
via solvent or heat extraction methods. The solvent extraction method uses solvents to separate the
compounds from the plant. On the high end, CO2 (Carbon dioxide) is used as the solvent. On the
low end, harsh chemicals (ethanol, butane, kerosene, etc.) are used as the solvent. In the heat
extraction method, steam is used to extract the oil in a gentle and effective way.
          22.   Due to the growing demand of CBD Products, companies in the market sell CBD in
many forms to reach a wide audience. The most common forms of CBD products include oils,
tinctures, cosmetics, topical creams, gummies, chocolate, powder and off-the-shelf beverages.
          23.   The Food and Drug Administration (“FDA”) has not legalized CBD for sale as a
supplement. The agency has stated that it wants more information on CBD and additional time to

consider how it might regulate production, marketing, labeling, distribution, and dosage
recommendations.5
          24.   The FDA acknowledges that “there are many unanswered questions about the
science, safety, and quality of many of these [CBD] products.”6
          25.   Furthermore, “[t]he FDA also tested the chemical content of cannabinoid compounds
in some of the products, and many were found not to contain the levels of CBD they claimed to
contain.”7

          26.   Because the FDA does not regulate CBD, it is possible to buy a product that is more
or less potent than advertised, or even a product that contains small amounts of THC.
          27.   Due to the lack of government regulations or oversight, many CBD manufacturers
and distributors take advantage of the lack of regulatory oversight and misrepresent the contents of
CBD Products.




5
 Amy Abernathy and Lowell Shiller, FDA is Committed to Sound, Science-based Policy on CBD, U.S. Food & Drug
Administration (July 17, 2019), https://www.fda.gov/news-events/fda-voices-perspectives-fda-leadership-and-
experts/fda-committed-sound-science-based-policy-cbd.
6
    Id.
7
    Id.

                                                     5
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        28.      In fact, a 2017 study demonstrated that less than a third of 84 CBD products tested
contained the amount of CBD advertised on their labels.8 Additionally, the FDA has reported that
many CBD sellers advertise unsubstantiated health benefits, warning consumers to “beware
purchasing and using such products.”9
        29.      Some local governments and regulatory bodies are restricting some CBD distribution.
For example, The New York City Department of Health has cracked down on restaurants, bars,
coffee shops, and other food service establishments from adding CBD to food or beverages.10
        30.      Similarly, Massachusetts regulators have banned the sale of some hemp products,
including foods infused with CBD and dietary supplements.11
        31.      Most CBD Products are sold online, in local health-food stores, CBD-specific

retailers, or convenience stores and gas stations. Researchers and medical professionals advise
consumers to look for products that show how much CBD is in each dose, not just the whole
product.12
        32.      Dosages of CBD are expressed in milligrams, or “mg”, and vary depending on the
form of the product.
        33.      The amount of CBD a consumer should take depends on a range of factors, including
body weight, the condition being treated, individual body chemistry, and the concentration of CBD

in each pill, capsule, drop, gummy, etc.



8
 Marcel O. Bonn-Miller, et al., Labeling Accuracy of Cannabidiol Extracts Sold Online, JAMA: The Journal of the
American Medical Association, 2017;318(17):1708-1709, https://jamanetwork.com/journals/jama/fullarticle/2661569.
9
 U.S. Food & Drug Administration (October 22, 2019), Warning Letters and Test Results for Cannabidiol-Related
Products, https://www.fda.gov/news-events/public-health-focus/warning-letters-and-test-results-cannabidiol-related-
products.
10
  amNewYork, NYC ban on CBD-infused food and drinks is in force, https://www.amny.com/eat-and-drink/nyc-cbd-
food-ban-1.33245187.
11
   Massachusetts Department of Agricultural Resources, Policy Statement Regarding the Sale of Hemp-Derived
Products in the Commonwealth,
https://www.mass.gov/files/documents/2019/06/12/MDAR%20Policy%20Statement%20Sale%20of%20Hemp.pdf.
12
   Lisa L. Gill, CBD Goes Mainstream, Consumer Reports (April 11, 2019),
https://www.consumerreports.org/cbd/cbd-goes-mainstream/.

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           34.     Because there are so many variables that go into deciding how much CBD to take, it
is recommended that consumers consult with a doctor about an appropriate dosage and any potential
risks of taking the wrong dosage(s).
           35.     Therefore, it is clear that taking the right dosage of CBD is very important to
consumers.
           36.     Stronger doses may be more suitable for certain CBD consumers. These include
people with severe pain or other debilitating symptoms, as well as those with a relatively high CBD
tolerance. And many consumers find that incrementally increasing the dosage is the best way to
achieve the desired effects of CBD.
           37.     As such, consumers pay a premium for higher dosed CBD Products over lower-dosed

CBD Products.
           38.     Consumers also pay a price premium for potent CBD Products over less-potent CBD
Products.
           39.     At all relevant times, Defendant has advertised and labeled its CBD Products as
containing a certain amount of CBD, which a reasonable consumer, including Plaintiff, understands
to mean that the Products actually contain that specific amount of CBD. Such representations
constitute an express warranty regarding the Products’ contents.

           40.     Contrary to Defendant’s representations, however, independent laboratory testing
commissioned by Plaintiff’s attorney, confirms that the CBD Products do not contain the amount of
CBD as advertised.

Defendant’s Deceptive Advertising and Labeling
           41.     Defendant’s website is replete with misrepresentations that the Products contain
specific amounts of CBD:

           What makes our products different from the rest? We only use CBD with less than
           0.3 percent THC, and we lab test our products to ensure they are federally legal and
           of the highest quality. We are committed to current Good Manufacturing Practices
           (cGMPs) and set industry standards for CBD extraction, manufacturing and
           packaging. Experience the difference that Hemp Bombs CBD makes.13

13
     https://hempbombs.com/cbd-products/ (last viewed November 11, 2019).
                                                         7
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           Hemp Bombs manufactures some of the most potent and concentrated CBD Oil you
           can find. Our CBD Oils are available in six different concentrations and four delicious
           flavors – Acai Berry, Orange Creamsicle, Peppermint and Watermelon – with an
           unflavored option for versatility. Our premium Hemp Oil may help you lead a
           healthier and more active lifestyle by encouraging balance in the mind and body.14


                                                The Products
           42.      Hemp Bombs High Potency CBD Capsules:




14
     https://hempbombs.com/cbd-oils/ (last viewed October 29, 2019).


                                                           8
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           Figure 1: Hemp Bombs High Potency CBD Capsules, Broad Spectrum CBD,
           25mg of CBD per capsule (1500mg of CBD per bottle).15
           43.   On its website, Defendant represents the Hemp Bombs High Potency CBD

Capsules as follows: “Hemp Bombs High Potency CBD Capsules offers a higher concentrated

serving of this natural compound in every easily digestible capsule. Take 1-2 capsules daily to

start your day focused and relaxed. Hemp Bombs High Potency CBD Capsules are a premium

blend of Cannabidiol in an easily digestible capsule form. Our capsules provide you with a

mix of high-quality ingredients and therapeutic benefits that may positively impact your health.

Taken in the morning or at night, our CBD Capsules have the potential to enhance your overall

well-being and boost your focus.”16

           44.   Hemp Bombs Original CBD Capsules:




15
  https://hempbombs.com/product/60-count-cbd-capsules-high-potency/ (last viewed October 29, 2019). Ingredients:
Calcium (Citrate/Carbonate) 25mg, Magnesium (Oxide/Glycinate) 25mg, Broad Spectrum Hemp Extracts 25mg.
Proprietary Blend: L-Theanine, B-phenyl-y-aminobutyric acid, Magnolia Bark, Scutellaria, Passiflora, Gelatin Capsule.
16
     Id.

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           Figure 2: Hemp Bombs Original CBD Capsules, Broad Spectrum CBD, 15mg
           of CBD per capsule (900mg of CBD per bottle).17
           45.   On its website, Defendant represents the Hemp Bombs Original CBD Capsules

as follows: “Hemp Bombs 60-Count Capsules offer CBD-related health benefits in an easy-to-

digest capsule form. These capsules are designed to be conveniently stored for whenever you

need them. Start your day off focused and energized with CBD Capsules. Hemp Bombs 60-

count CBD Capsules are a premium blend of Cannabidiol in an easily digestible capsule form.

Our capsules provide you with a mix of high-quality ingredients and therapeutic benefits that

may positively impact your health. Taken in the morning or at night, our CBD Capsules have

the potential to improve your focus and promote a more positive lifestyle.”18

           46.   On its website, Defendant represents Hemp Bombs Certified Pure CBD Blend

Capsules as follows: “Hemp Bombs Capsules offer CBD-related health benefits in an easy-to-



17
    https://hempbombs.com/product/hemp-bombs-60-count-cbd-capsules/ (last viewed October 29, 2019).
Ingredients: Broad Spectrum Hemp Extracts 15mg Calcium (Citrate/Carbonate) 25mg, Magnesium (Oxide/Glycinate)
25mg. Proprietary Blend: L-Theanine, B-phenyl-y-aminobutyric acid, Magnolia Bark, Scutellaria, Passiflora, Gelatin
Capsule.

18
     Id.

                                                       10
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digest capsule form. The capsules are designed to be conveniently stored for whenever you

need them. CBD has helped many consumers with a wide number of issues already, having

been connected with a multitude of therapeutic health benefits. Mainly, these benefits come

from the way CBD interacts with your body’s natural processes. Hemp Bombs sources its CBD

from pure European CBD Isolate, with zero THC. Then, quality control teams test our products

to prepare them for the consumer.”19

           47.   Hemp Bombs Premium CBD E-Liquid:




19
     Id.

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Figure 4: 120ml E-Liquid, 120 ml bottle, 70/30 vg/pg split (also available in 75mg,
250mg, 300mg, 1000mg and 2000mg containers). 20
           48.   On its website, Defendant represents Hemp Bombs Premium CBD E-Liquid as

follows: as follows: “Hemp Bombs continues to be a trailblazer in the CBD industry with our

premium CB D E-Liquid. Our Vape Oil is made with broad spectrum CBD, and we offer

multiple flavors and concentrations, so you can personalize your vape experience. We follow

the best practices in Hemp sourcing and extraction to produce a superior E-Liquid that is

premium, potent and packed with CBD’s benefits. Hemp Bombs CBD E-Juices are perfectly

blended for maximum flavor, cloud production and enjoyment. You may order a la carte or

select our Mix & Match E-Liquid packages to try multiple flavors at once. Our bundles give

you the option to stock up on a variety of E-Liquids or double down on your favorites – all

while saving money. Feel great and relax now with Hemp Bombs premium CBD Vape Oils.”21

           49.   Hemp Bombs High Potency CBD Gummies:




20
  See https://hempbombs.com/cbd-e-liquid/ (last viewed October 29, 2019). Ingredients: Broad Spectrum Hemp
Extracts, Vegetable Glycerine, Propylene Glycol.
21
     Id.

                                                      12
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        Figure 5: Hemp Bombs High Potency CBD Gummies, Broad Spectrum CBD,
        1500 mg of CBD total, 25 mg of CBD per gummy.22
        50.      On its website, Defendant represents Hemp Bombs High Potency CBD

Gummies as follows:“Hemp Bombs High Potency CBD Gummies are more potent than our



22
  https://hempbombs.com/product/60-count-cbd-gummies-high-potency/ (last viewed October 29, 2019). Ingredients:
Broad Spectrum Hemp Extract (CBD), Proprietary Blend: L-Theanine, Scutellaria, Passiflora & Melatonin. Other
Ingredients: Sugar, Corn Syrup, Gelatin, Citric Acid, Calcium Lactate, Silicon Dioxide, Natural & Artificial Flavors.

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traditional CBD Gummies, each containing 25mg of premium CBD. Our High Potency CBD

Gummies follow the same strict manufacturing and sourcing guidelines. Our products are

tested both internally and by third parties for quality and consistency purposes.”23

           51.   Hemp Bombs Enhanced with Melatonin CBD Gummies:




23
     Id.

                                                 14
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           Figure 6: Hemp Bombs Enhanced with Melatonin CBD Gummies, Broad
           Spectrum CBD, 15mg of CBD per gummy (900mg of CBD per bottle), 5mg of
           Melatonin per gummy.24
           52.   On its website, Defendant represents Hemp Bombs Enhanced with Melatonin

CBD Gummies as follows: “Experience a good night’s rest with our CBD Sleep Gummies.

Formulated with 15mg of premium CBD and enhanced with the sleep aid melatonin, this

product has the potential to promote deeper sleep and morning wakefulness.”25

           53.   Hemp Bombs Original CBD Gummies:




           Figure 7: Hemp Bombs Original CBD Gummies, Broad Spectrum CBD, 15mg
           CBD per gummy (900mg CBD per bottle).26




24
    https://hempbombs.com/product/60-count-cbd-sleep-gummies/ (last viewed October 29, 2019).
Ingredients: Broad Spectrum Hemp Extract (CBD), Melatonin Proprietary Blend: L-Theanine,
Scutellaria, Passiflora. Other Ingredients: Sugar, Corn Syrup, Gelatin, Citric Acid, Calcium Lactate,
Silicon Dioxide, Natural & Artificial Flavors.

25
     Id.
26
   https://hempbombs.com/product/hemp-bombs-60-count-cbd-gummies/ (last viewed October 29, 2019).
Ingredients: Broad Spectrum Hemp Extract (CBD), Proprietary Blend: L-Theanine, Scutellaria, Passiflora &
Melatonin. Other Ingredients: Sugar, Corn Syrup, Gelatin, Citric Acid, Calcium Lactate, Silicon Dioxide, Natural
& Artificial Flavors.

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           54.    On its website, Defendant represents Hemp Bombs Original CBD Gummies as

follows: “Hemp Bombs CBD Gummies provide a 15mg serving of CBD per gummy to

optimize your well-being and encourage relaxation. If you are on the move and looking for an

effortless way to live a balanced and positive lifestyle, CBD Gummies may be the option for

you.”27

           55.    CBD Lollipops, Jolly Bombs:




           Figure 8: CBD Lollipops, Jolly Bombs, 40mg of CBD per lollopop.28

           56.    On its website, Defendant represents CBD Lollipops, Jolly Bombs as follows:

“If you want to enjoy CBD and have a treat at the same time, you’re in luck – Hemp Bombs

CBD Jolly Bombs are designed with you in mind. Each delicious CBD lollipop packs 40mg

of premium CBD and is completely vegan, so all adults can indulge in these tasty treats.”29




27
     Id.
28
    https://hempbombs.com/product/cbd-lollipops-jolly-bombs-2-pack/ (last viewed October 29, 2019).
Ingredients: Broad Spectrum Hemp Extracts (CBD), Soy Lecithin, Artificial Color, Sodium Lactate, Malic Acid,
Corn Syrup, Sugar. Contains 2% or less of Natural & Artificial Flavor.
29
     Id.
                                                       16
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Defendant further represents: “You can enjoy them on-the-go on a busy day or while

unwinding at home – your options are endless. Hemp Bombs CBD Jolly Bombs contain CBD

isolate, which means there’s no THC and the treat is federally legal in the U.S.”30

          57.      CBD Syrup:




          Figure 9: CBD Syrup, Broad Spectrum CBD, 100mg of CBD per bottle.31

          58.      On its website, Defendant represents CBD Syrup as follows: “Hemp Bombs’

Complete Relaxation CBD Syrup is a powerful concentrate that packs CBD-derived wellness




30
     https://www.growthinhealth.org/product-page/cbd-lollipops-jolly-bombs (last viewed October 30, 2019).
31
  https://hempbombs.com/product/100mg-cbd-relaxation-syrup/ (last viewed October 30, 2019). Ingredients:
Premium Broad Spectrum Extract (CBD), Water, High Fructose Corn Syrup, Natural and Artificial Fruit Punch
Flavor, Vegetable Glycerin, Propylene Glycol, Citric Acid, Sodium Benzoate, Melatonin, FD&C Red No. 40, FD&C
Blue No. 1.

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benefits into manageable servings. This product is perfect as a mixer, infusing a CBD blend into any

drink to generate a wellspring of complete relaxation.”32

           59.      Defendant uniformly marketed the Products in a consistent and uniform manner

relating to ingredients, potency, and effect. 15mg CBD per gummy (900mg CBD per bottle).

           60.      Defendant knew that consumers would pay more for Products advertised and labeled

as the “most potent” and the “most concentrated CBD” Products, and intended to deceive Plaintiff

and putative class members by advertising and labeling the Products as such.

           61.      Defendant also knew that consumers would pay more for Products advertised as

containing higher amounts of CBD, and intended to deceive Plaintiff and putative class members by

falsely advertising and mislabeling the Products as containing specific amounts of CBD when the

Products do not in fact contain those amounts.

           62.      Moreover, Defendant knew that consumers would pay more for Products advertised

and labeled as “premium,” and intended to deceive Plaintiff and putative class members by

advertising and labeling the Products as such.

Product Testing Confirms Defendant’s Deception
           63.      Contrary to Defendant’s uniform representation of the dosage of CBD on the

Products’ labels, Plaintiff-commissioned laboratory testing shows that the Products are in fact
grossly underdosed.
           64.      The laboratory testing demonstrates that several of Defendant’s Products contain
significantly lower levels of CBD than advertised.33
           65.      Furthermore, because testing confirms that the Products are grossly underdosed,
Defendant’s representations that the Products are “premium” and the “most potent” and the “most
concentrated CBD” Products are false and misleading.


32
     Id.
33
     Preliminary and final reports show Products containing only 2.6% to 37.6% of the claimed CBD content.

                                                          18
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Defendant’s Deceptive Statements are Illegal
       66.     Plaintiff and the Class members purchased and utilized the Products because they

believed, based on the misleading CBD Products’ labels and the information on Defendant’s
website, that the Products contained a certain amount of CBD, as advertised.
       67.     Defendant’s labeling and advertising of the Products deceived and misled Plaintiff
and the Class members.
       68.     Defendant’s misrepresentations regarding the amount of CBD in the Products
deceived and misled Plaintiff and the Class members.
       69.     The difference between the Products as promised and the Products as sold is
significant and material. Defendant’s misrepresentations regarding the amount of CBD contained in
the Products diminishes the economic value of the Products. And the amount of CBD has real
impacts on the benefits provided to consumers and on the actual value of the Products.
       70.     Plaintiff and Class members would not have purchased the Products or would have
paid less for the Products if they had known the Products contained a lesser amount of CBD than
represented.
       71.     Furthermore, Plaintiff and Class members would not have purchased the Products or
would have not paid as much for the Products, had they known the truth about the mislabeled and
falsely advertised CBD Products.
                             CLASS ACTION ALLEGATIONS
       72.     Plaintiff brings this action individually and as a representative of all those similarly
situated, pursuant to Federal Rule of Civil Procedure 23, on behalf of the below-defined Classes:
               National Class: All persons in the United States who purchased the CBD Products
       within the applicable statutes of limitations preceding the filing of this action through and
       including the date of judgment (the “National Class”).

       73.     In the alternative, Plaintiff brings this action on behalf of the following state Class:
                Massachusetts Class: All persons in the Commonwealth of Massachusetts who
       purchased the CBD Products within the applicable statutes of limitations preceding the filing
       of this action through and including the date of judgment (the “Massachusetts Class”).
       74.     Excluded from the Classes are: (1) Defendant, and any entity in which Defendant has
a controlling interest or which has a controlling interest in Defendant; (2) Defendant’s legal
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representatives, assigns and successors; and (3) the judge(s) to whom this case is assigned and any
member of the judge’s immediate family.
       75.     Plaintiff reserves the right to redefine the Class(es), and/or requests for relief.
       76.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because
Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as would
be used to prove those elements in individual actions alleging the same claims.
       77.     The members of the proposed Class(es) are so numerous that joinder of all members
is impracticable.
       78.     The exact number of Class members is unknown. Due to the nature of the trade and
commerce involved, as well as the number of online and direct complaints, Plaintiff believes the

Class(es) consists of thousands of consumers.
       79.     Common questions of law and fact affect the right of each Class member, and a
common relief by way of damages is sought for Plaintiff and Class members.
       80.     Common questions of law and fact that affect Class members include, but are not
limited to:

               a.      The extent to which the marketing, advertising, packaging, labeling, and other
                       promotional materials for the CBD Products are unfair, deceptive, false, or
                       misleading;

               b.      Whether Defendant breached an express warranty to Plaintiff and Class
                       members;

               c.      Whether Defendant breached a contract to Plaintiff and Class members;

               d.      The nature and extent of damages, restitution, equitable remedies, and
                       declaratory and injunctive relief to which Plaintiff and the Class are entitled;
                       and

               e.      The extent to which Plaintiff and the Class should be awarded attorneys’ fees
                       and the costs of the suit.

       81.     Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff, on behalf of herself and the other Class members. Similar or

identical statutory and common law violations, business practices, and injuries are involved.
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Individual questions, if any, pale in comparison, in both quality and quantity, to the numerous

common questions that dominate this action.

       82.     Additionally, the factual basis of Defendant’s conduct is common to all Class

members and represents a common thread of misconduct resulting in injury and damages to all

members of the Class.

       83.     Plaintiff will fairly and adequately assert and protect the interests of the Class.

Specifically, she has hired attorneys who are experienced in prosecuting class action claims and

will adequately represent the interests of the Class; and they have no conflict of interests that will

interfere with the maintenance of this class action.

               a.       The common questions of law and fact set forth herein predominate
                        over any questions affecting only individual Class members;

               b.       The Class is so numerous as to make joinder impracticable but not so
                        numerous as to create manageability problems;

               c.       There are no unusual legal or factual issues which would create
                        manageability problems, and depending on discovery, manageability
                        will not be an issue as much information is solely in Defendant’s
                        possession;

               d.       Prosecution of separate actions by individual members of the Class
                        would create a risk of inconsistent and varying adjudications against
                        Defendant when confronted with incompatible standards of conduct;

               e.       Adjudications with respect to individual members of the Class could,
                        as a practical matter, be dispositive of any interest of other members
                        not parties to such adjudications, or substantially impair their ability
                        to protect their interests; and

               f.       The claims of the individual Class members are small in relation to
                        the expenses of litigation, making a class action the only procedure in
                        which Class members can, as a practical matter, recover. However,
                        the claims of individual Class members are collectively large enough
                        to justify the expense and effort in maintaining a class action.




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                                     CLAIMS FOR RELIEF

                                           COUNT I
                     Violation of Massachusetts Consumer Protection Act
                                  (Mass. Gen. Laws Ch. 93A)
                     (On Behalf of Plaintiff and the Massachusetts Class)

       84.     Plaintiff incorporates paragraphs 1 through 83 as if fully set forth herein.

       85.     Plaintiff brings this Count on behalf of herself and the Class.

       86.     Plaintiff asserts a claim under the Massachusetts Consumer Protection Act (“Chapter

93A”), which makes it unlawful to engage in any “[u]nfair methods of competition or deceptive

acts or practices in the conduct of any trade or commerce.” Mass. Gen. Laws Ch. 93A, § 2(a).

       87.     Defendant is engaged in “trade” and “commerce” as it offers CBD Products for sale

to consumers. By misrepresenting that its Products contain a certain amount of CBD, when in fact,

the Products do not contain the amount of CBD as advertised, Defendant committed unfair methods

of competition and unfair and deceptive acts and practices in the conduct of a trade or commerce.

       88.     Under Massachusetts law, it is an unfair or deceptive act for a seller to make any

material representations of fact in an advertisement if the seller knows or should know that the

material representation is false or misleading or has the tendency or capacity to be misleading. 940

C.M.R. § 6.04(1).

       89.     By misrepresenting the amount of CBD contained in its Products, Defendant made

material representations of fact that it knew, or should have known, were false and misleading and

that had the tendency and capacity to be misleading.

       90.     Defendant’s misrepresentations and false, deceptive, and misleading statements and

omissions with respect to the amounts of CBD in the Products, as described above, constitute

affirmative misrepresentations in connection with the marketing, advertising, promotion, and sale

of the Products in violation of the Chapter 93A.


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       91.     Defendant’s false, deceptive, and misleading statements and omissions would have

been material to any potential consumer’s decision to purchase the Products from Defendant.

       92.     By repeatedly referencing the amount of CBD in the Products on the front and back

labels of the Products, as well as on Defendant’s website (https://hempbombs.com), Defendant

willfully misrepresented to reasonable consumers that its Products contain certain amounts of CBD,

when in fact, the Products contain much lower amounts of CBD than advertised.               These

representations are false and misleading.

       93.     Furthermore, Defendant knowingly made misrepresentations of material fact by

representing that the Products are “premium” and “some of the most potent and most concentrated

CBD” Products on the market. Grossly underdosed CBD Products are anything but “premium” or

“potent.”

       94.     Defendant also failed to inform customers that its Products contained under-dosed

amounts of CBD. That information would have been material to any consumer deciding whether

to purchase CBD Products from Defendant.

       95.     Defendant knew at the time it released the Products into the marketplace, that the

CBD Products contained significantly lower amounts of CBD than advertised. Indeed, Defendant’s

own Product testing would confirm such.

       96.     Defendant made these false, deceptive, and misleading statements and omissions

with the intent that consumers rely upon such statements.

       97.     Defendant’s intentional concealments were designed to deceive consumers into

believing Defendant’s Products contained specific amounts of CBD and that the Products were

“premium” and “the most potent” CBD Products in the market. Defendant benefits from reliance

and deprives consumers of informed purchasing decisions.


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       98.     Defendant’s conduct as alleged above constitutes a deceptive act or practice.

Defendant’s misrepresentations and omissions as set forth above were and are likely to mislead

consumers, and Defendant knew and intended that consumers would rely upon those

misrepresentations and omissions. Plaintiff and other reasonable consumers reasonably interpreted

Defendant’s representations to mean that Defendant’s Products contained the specific amounts of

CBD as advertised (when in fact they do not). Plaintiff and other reasonable consumers reasonably

interpreted Defendant’s representations to mean that Defendant’s Products were premium and

potent Products in the market (when in fact they were not). Defendant’s representations were

material to a reasonable consumer and likely to affect consumer decisions and conduct, including

purchases of the Products from Defendant.

       99.     Defendant’s affirmative conduct and omissions constitute unlawful practices beyond

a mere breach of warranty. Rather, Defendant’s practices are unconscionable and outside the norm

of reasonable business practices. No reasonable consumer would purchase Defendant’s Products if

they knew that the Products were grossly underdosed. Yet, by deceiving consumers, Defendant has

managed to convince them to purchase its Products. This is plainly an unconscionable result.

       100.    Defendant’s conduct as alleged above constitutes unfair practices because Defendant

does not accurately disclose or label the Products with the amount of CBD actually contained in the

Products.

       101.    Defendant’s acts and practices with regard to its mislabeled Products as alleged

above are immoral, unethical, oppressive, and unscrupulous.

       102.    Defendant’s conduct is substantially injurious to consumers. Such conduct has

caused, and continues to cause, substantial injury to consumers because consumers would not have

paid such a high price for the Products but for Defendant’s immoral, unethical, oppressive and

unscrupulous practices. Consumers have thus overpaid for Defendant’s Products and such injury
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is not outweighed by any countervailing benefits to consumers or competition. No benefit to

consumers or competition results from Defendant’s conduct, nor could consumers reasonably have

avoided the injury.

       103.    Defendant’s conduct as alleged above also constitutes a deceptive act or practice.

Defendant’s representations as set forth above were and are likely to mislead consumers, and

Defendant knew and intended that consumers would rely upon those representations. Plaintiff and

other reasonable consumers reasonably interpreted Defendant’s representations to mean that

Defendant’s Products contained specific amounts of CBD (when in fact they do not). Plaintiff and

other reasonable consumers reasonably interpreted Defendant’s representations to mean that

Defendant’s Products were premium and potent (when in fact they were grossly underdosed and

not premium or potent). Defendant’s representations were material to a reasonable consumer and

likely to affect consumer decisions and conduct, including purchases of Products from Defendant.

       104.    As a result of Defendant’s actions, Plaintiff and Class members suffered injuries

because they purchased Defendant’s Products that they otherwise would not have bought or paid

more than they would have paid but for Defendant’s actions.

       105.    The foregoing unfair and deceptive practices directly, foreseeably and proximately

caused Plaintiff and the Class to suffer an ascertainable loss and substantial injury when they paid

a premium for Defendant’s Products.

       106.      Chapter 93A § 9 permits any consumer injured by a violation of the MCPA to bring

a civil action, including a class action, for damages and injunctive relief. Massachusetts has a strong

interest in applying MCPA to the conduct at issue here. Plaintiff resides in Massachusetts, and

Defendant formulates, manufactures, advertises, markets, distributes and sells the Products in

Massachusetts.


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         107.   Plaintiff and the members of the Class are entitled to the greater of their actual

damages or the statutory amount of $25.

         108.   As a result of Defendant’s unlawful business practices, Plaintiff and the members of

the Class are entitled, pursuant to Chapter 93A et seq., to an order enjoining such future conduct

and such other orders and judgments which may be necessary to disgorge Defendant’s ill-gotten

gains.

         109.   Defendant’s violation of Chapter 93A et seq. was knowing and willful. Defendant’s

failure to grant relief upon demand was made in bad faith with knowledge or reason to know that

the act or practice complained of violated Chapter 93A. Therefore, Plaintiff and the members of

the Class are entitled to recover not less than twice and not more than three times their actual

damages and any applicable statutory penalties. Plaintiff and the members of the Class are also

entitled to attorneys’ fees.

         110.   Plaintiff made a written demand for relief in satisfaction of Chapter 93A, § 9(3) on

September 24, 2019, and Defendant has failed to provide an adequate response.

         111.   Plaintiff and the Class are entitled to recover damages and other appropriate relief,

as alleged below.
                                            COUNT II
                                  Breach of Express Warranty
                       (On Behalf of Plaintiff and the Massachusetts Class)

         112.   Plaintiff incorporates paragraphs 1 through 83 as if fully set forth herein.
         113.   Plaintiff, and each member of the Class, formed a contract with Defendant at the time

Plaintiff and the other members of the Class purchased the Products. The terms of the contract

included the promises and affirmations of fact made by Defendant on the Products’ packaging and

the Products’ labels which are similarly represented on Defendant’s website and other retailers’

websites, and through marketing and advertising, as described above. This labeling, marketing and

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advertising constitutes express warranties and became part of the basis of bargain, and part of the

standardized contract between Plaintiff and the members of the Class and Defendant.

       114.    Plaintiff and the Class performed all conditions precedent to Defendant’s liability

under this contract when they purchased the Products.

       115.    Defendant breached express warranties about the Products and their qualities because

Defendant’s statements about the Products were false and the Products do not conform to

Defendant’s affirmations and promises as described above.

       116.    Had they known the true nature of the Products, Plaintiff and the Class would not

have purchased the Products, or paid as much as they did for the Products.

       117.    As a result of Defendant’s breach of warranty, Plaintiff and each of the members of

the Class have been damaged in the amount of the purchase price of the Products and any

consequential damages resulting from their purchases.

                                          COUNT III
                        Breach of Contract/Common Law Warranty
                     (On Behalf of Plaintiff and the Massachusetts Class)

       118.    Plaintiff incorporates paragraphs 1 through 83 as if fully set forth herein.

       119.    Plaintiff brings this cause of action on behalf of herself and the Massachusetts

Subclass against Defendant.

       120.    To the extent Defendant’s commitment is deemed not to be a warranty under

Massachusetts’ Uniform Commercial Code, Plaintiff pleads in the alternative under common law

warranty and contract law.

       121.    Plaintiff and Massachusetts Subclass Members purchased the Products either

directly from Defendant or through retailers.

       122.    Defendant expressly warranted that the Products were fit for their intended purpose

in that the Products contained the amount of CBD as advertised.

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       123.      Defendant made the foregoing express representations and warranties to all

consumers, which became the basis of the bargain between Plaintiff, Massachusetts Subclass

Members and Defendant.

       124.      Defendant breached the warranties and/or contract obligation by placing the

Products into the stream of commerce and selling them to consumers, when the Products do not

contain the amount of CBD they were represented to possess. Because the Products do not contain

the amount of CBD as advertised, the Products are unfit for their intended use and purpose. The

underdosing of CBD substantially and/or completely impairs the use and value of the Products.

       125.      The underdosing of CBD at issue herein existed when the Products left Defendant’s

possession or control and were sold to Plaintiff and Massachusetts Subclass Members. The

underdosing of CBD and impaired use and value of the Products were not discoverable by Plaintiff

and Massachusetts Subclass Members at the time of their purchase of the Products.

       126.      As a direct and proximate cause of Defendant’s breach of contract, Plaintiff and the

Massachusetts Subclass Members were harmed because they would not have purchased the

Products if they knew the truth about the Products.

                                           COUNT IV
                          Magnuson-Moss – Breach of Express Warranty
                                     15 U.S.C. § 2301 et seq.
                          (On Behalf of Plaintiff and the National Class)

       127.      Plaintiff incorporates paragraphs 1 through 83 as though fully set forth herein.

       128.      Plaintiff brings this claim pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C.

§ 2301 et seq.

       129.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 2301(3) who purchased the

Products subject to Defendant’s express warranty, and who is entitled by the terms of the warranty

to enforce against the Defendant the obligations of same.

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       130.    The CBD Products described above are a “consumer product” as defined in 15 U.S.C.

§ 2301(1) because they are normally used for personal purposes and Plaintiff in fact purchased the

Products wholly or primarily for personal use.

       131.    Defendant is the manufacturer of the Products.

       132.    Defendant is a “supplier” and “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

       133.    The warranty described above is a “written warranty” as defined in 15 U.S.C.

§ 2301(6).

       134.    Plaintiff and Class members purchased the Products because of the manufacturer’s

warranty, as described above.

       135.    Section 2310 (d) of the Magnuson-Moss Warranty Act provides, in relevant part:

       a consumer who is damaged by the failure of a supplier, warrantor, or service
       contractor to comply with any obligation under this chapter, or under a written
       warranty, implied warranty, or service contract, may bring suit for damages and other
       legal and equitable relief – (b) in an appropriate district court of the United States

       136.    As described above, Defendant misrepresented the nature and characteristics of its

Products by falsely stating that the Products contained a certain quantity of CBD, when in fact, the

Products contained a significantly lower amount of CBD.

       137.    Defendant breached its express warranty to consumers that its Products “contained

15 mg of CBD” per gummy.

       138.    Defendant’s breach of the express warranty constitutes a violation of 15 U.S.C.

§ 2310 (d).

       139.    As a result, Plaintiff has never received the full use and value of the Products as

warranted and suffered damages.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this case be certified and maintained as a class action

and for judgment to be entered against Defendant as follows:
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             A.      Enter an order certifying the proposed Class (and Subclasses, if applicable),
                     designating Plaintiff as the class representative, and designating the
                     undersigned as class counsel;

             B.      Declare that Defendant is financially responsible for notifying all Class
                     members of the problems with the Products;

             C.      Declare that Defendant must disgorge, for the benefit of the Class, all or part
                     of the ill-gotten profits it received from the sale of the Products, or order
                     Defendant to make full restitution to Plaintiff and the members of the Class;

             D.      Defendant shall audit and reassess all prior customer claims regarding the
                     Products, including claims previously denied in whole or in part;

             E.      For economic and compensatory damages on behalf of Plaintiff and all
                     members of the Class;

             F.      For actual damages sustained and/or treble damages;

             G.      For punitive or exemplary damages;

             H.      For injunctive and declaratory relief;

             I.      For reasonable attorneys’ fees and reimbursement of all costs for the
                     prosecution of this action; and

             J.      For such other and further relief as this Court deems just and appropriate.

                                        JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.

Dated: November 15, 2019                              Respectfully Submitted,
                                                      BLOCK & LEVITON LLP

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